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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 In the Matter of              )
                               )
 REASSIGNMENT OF CASES         )
                               )
 _____________________________ )

                     ORDER OF REASSIGNMENT OF CASES

             Chief Judge Susan Oki Mollway hereby reassigns the

 cases listed below from Judge J. Michael Seabright to Judge

 Derrick K. Watson.     Magistrate Judge assignments remain the same.

 1.    Bank of New York Mellon v. Sakala, Civil No. 11-00618 JMS-
       BMK

 2.    Miyasato v. Hyatt Corp., Civil No. 11-00716 JMS-KSC

 3.    Nunuha-Tachera v. State of Hawaii, Civil No. 12-00147 JMS-
       RLP

 4.    Costales v. City and Cnty. of Honolulu, Civil No. 12-00171
       JMS-RLP

 5.    Medeiros v. State of Hawaii, Civil No. 12-00340 JMS-RLP

 6.    Lewis v. Ameron International, Civil No. 12-00453 JMS-RLP

 7.    D. v. Dep’t. of Educ., State of Hawaii, Civil No. 12-00459
       JMS-RLP

 8.    Silva v. Pleasant Travel Service, Civil No. 12-00531 JMS-RLP

 9.    Manuel v. ABM Indus. Inc., Civil No. 12-00576 JMS-KSC

 10.   Parrilla v. Kyo-Ya Hotels & Resorts, LP, Civil No. 12-00679
       JMS-RLP

 11.   Unitek Solvent Services, Ins. v. Chrysler Group LLC, Civil
       No. 12-00704 JMS-RLP

 12.   McKee v. Paradise Cruise, Ltd., Civil No. 13-00041 JMS-RLP

 13.   Onodera v. Kuhio Motors Inc., Civil No. 13-00044 JMS-RLP
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 14.   Dimitrion v. Morgan Stanley Home Loans, Civil No. 13-00125
       JMS-BMK

 15.   Landrum v. Lahaina Cruise Co., Inc., Civil No. 13-00149 JMS-
       RLP

 16.   CJS Group Architects Ltd. v. Hanalei Bay Resorts, Civil No.
       13-00151 JMS-BMK

 17.   Patanapaiboon v. CVS Pharmacy, Inc., Civil No. 13-00173 JMS-
       RLP

 18.   Sky-Med, Inc. v. Skydiving School, Inc., Civil No. 13-00193
       JMS-BMK

 19.   Hancock v. Kulana Partners, LLC, Civil No. 13-00198 JMS-RLP

 20.   Nova Casualty Co. v. Kim, Civil No. 13-00217 JMS-BMK


             Chief Judge Susan Oki Mollway hereby reassigns the

 cases listed below from Judge Leslie E. Kobayashi to Judge

 Derrick K. Watson.     Magistrate Judge assignments remain the same.

 1.    Alston v. Read (consolidated); Civil No. 07-00266 LEK-RLP

 2.    Nakagawa v. Cnty. of Maui, Civil No. 11-00130 LEK-BMK

 3.    Naehu v. Read; Civil No. 11-00226 LEK-RLP

 4.    Kolio v. State of Hawai`i; Civil No. 11-00266 LEK-RLP

 5.    Ortiz v. Read,(consolidated); Civil No. 11-00381 LEK-RLP

 6.    Na`o v. Read,(consolidated); Civil No. 11-00382 LEK-RLP

 7.    Munzig v. Read, (consolidated); Civil No. 11-00384 LEK-RLP

 8.    Flores v. Read, (consolidated); Civil No. 11-00385 LEK-RLP

 9.    Bartimac v. Read, (consolidated); Civil No. 11-00386 LEK-RLP

 10.   Albinio v. Read, (consolidated); Civil No. 11-00387 LEK-RLP

 11.   Port Lynch, Inc. v. Samsung Fire & Marine Ins. Co.; Civil
       No. 11-00398 LEK-BMK

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 12.   Allstate Ins. Co. v. Polumbo; Civil No. 11-00481 LEK-KSC

 13.   Bass v. Ostachuk; Civil No. 11-00524 LEK-KSC

 14.   Wilson v. Wyndham Worldwide Corp; Civil No. 11-00538 LEK-BMK

 15.   Lu v. Longs Drugs Stores; Civil No. 11-00563 LEK-BMK

 16.   J&J Sports Prods., Inc. v. Ong; Civil No. 11-00629 LEK-KSC

 17.   Keahole Point Fish, LLC. v. Skretting N. Am; Civil No. 11-
       00675 LEK-KSC

 18.   Am. Savings Bank v. Mortg. Guarantee Ins. Corp; Civil No.
       11-00687 LEK-KSC

 19.   Bauer v. Deutsche Bank Nat’l Trust Co; Civil No. 12-00124
       LEK-BMK

 20.   Van Horn v. The Hana Grp, Inc.; Civil No. 12-00215 LEK-KSC

 21.   Dias v. Fed. Nat’l Mortg. Ass’n; Civil No. 12-00394 LEK-KSC

 22.   Central Pac. Bank v. Kirkeby; Civil No. 12-00399 LEK-KSC

 23.   Broyles v. Bank of Am. Bank; Civil No. 12-00426 LEK-KSC

 24.   Torres v. City & Cnty. Of Honolulu; Civil No. 12-00437 LEK-
       BMK

 25.   Mau v. Mitsunaga & Assocs.; Civil No. 12-00468 LEK-BMK

 26.   Nautilus Ins. Co. v. Alpha Bldg. & Restoration, Inc.; Civil
       No. 12-00477 LEK-BMK

 27.   Nakashima v. Hi`ipaka, LLC; Civil No. 12-00512 LEK-KSC

 28.   David S. v. Dep’t of Educ., State of Hawai`i; Civil No. 12-
       00533 LEK-RLP

 29.   Lum-John v. Cnty of Maui; Civil No. 12-00569 LEK-BMK

 30.   Chang v. Straub Clinic & Hosp., Inc.; Civil No. 12-00617
       LEK-RLP

 31.   Ramelb v. Newport Lending Corp; Civil No. 12-00618 LEK-RLP

 32.   Lauro v. State of Hawai`i; Civil No. 12-00637 LEK-BMK

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 33.   Augusta v. Block by Block, LLC; Civil No. 12-00664 LEK-RLP

 34.   Adams v. City & Cnty. Of Honolulu; Civil No. 12-00667 LEK-
       BMK

 35.   Marn v. McCully Assocs; Civil no. 12-00684 LEK-BMK

 36.   Anthony C. v. Dep’t of Educ., State of Hawai`i; Civil No.
       12-00698 LEK-BMK

 37.   Rogers v. Liko Kauai Cruises, Inc.; Civil No. 13-00001 LEK-
       RLP

 38.   Grandinetti v. State of Hawai`i; Civil No. 13-00009 LEK-RLP

 39.   Kalama v. Segovia; Civil No. 13-00038 LEK-BMK

 40.   Manoa Boys Club, LLC v. Yogurtking, LLC; Civil No. 13-000048
       LEK-BMK

 41.   Carroll v. Cnty. of Maui; Civil No. 13-00066 LEK-KSC

 42.   Howard v. Hawaiian Moons Natural Foods, Inc.; Civil No. 13-
       00072 LEK-KSC

 43.   Campbell v. State of Hawai`i, Dep’t of Educ.; Civil No. 13-
       00083 LEK-RLP

 44.   Moniz v. State of Hawai`i; Civil No. 13-00086 LEK-BMK

 45.   Kalaola v. Perry Mgmt. Corp. Of S. Dakota, LLC; Civil No.
       13-00105 LEK-RLP

 46.   U.S. Fire Ins. Co. v. Bratt; Civil No. 13-00107 LEK-BMK

 47.   Flowe v. Tavares; Civil No. 13-00111 LEK-BMK

 48.   Kobayashi v. Humana, Inc.; Civil No. 13-00112 LEK-RLP

 49.   Burns v. Shores; Civil No. 13-00122 LEK-BMK

 50.   Obata v. Harrington; Civil No. 13-00137 LEK-RLP

 51.   Randolph Divs. Inc. v. Apple Inc.; Civil No. 13-00148 LEK-
       BMK




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             This order supersedes any case assignments submitted

 this week in these cases.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, May 10, 2013.




                                    /s/ Susan Oki Mollway
                                   Susan Oki Mollway
                                   Chief United States District Judge




 In the Matter of REASSIGNMENT OF CASES


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